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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-20104-cr-MARTINEZ

 UNITED STATES OF AMERICA,

 vs.

 RODOLPHE JAAR,
 JOSEPH JOEL JOHN,
 JOSEPH VINCENT,
 GERMAN ALEJANDRO RIVERA GARCIA,
 MARIO ANTONIO PALACIOS PALACIOS, and
 FREDERICK JOSEPH BERGMANN, Jr.

             Defendants.
 _________________________________________________/

                 JOINT MOTION TO VACATE RESTITUTION HEARING
                 TO ALLOW FURTHER CONSULTATION WITH VICTIM

        The United States of America and the above captioned defendants, through their attorneys, 1

 file this motion jointly requesting that the Court vacate the May 21, 2024 Restitution Hearing in

 this matter due to an agreed settlement in the matter. However, the United States has been unable

 to reach one of the victims in this matter to ensure concurrence with the final settlement figure.

 While the United States has been consulting with this victim’s attorney, who agrees with the terms

 of the settlement, that attorney has been unable to reach his client to obtain final concurrence.

        Accordingly, in light of the likely settlement, the parties request that the Court vacate the

 hearing currently set on May 21, 2024, and order that the United States file a motion for the agreed-




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   Counsel for the government has been unable to reach counsel for Bergmann, Henry Bell, this
 afternoon. Upon information and belief, given the proposed settlement, Mr. Bell would not
 oppose this motion.
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 upon restitution order, or a status report on restitution, by close of business on May 24, 2024.

                                                       Respectfully submitted,

                                                       MARKENZY LAPOINTE
                                                       UNITED STATES ATTORNEY

                                               By:     /s/ Andrea Goldbarg
                                                       /s/ Monica K. Castro
                                                       Assistant United States Attorneys
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                                                       MATTHEW G. OLSEN
                                                       ASSISTANT ATTORNEY GENERAL

                                               By:     /s/ Frank V. Russo
                                                       Trial Attorney
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 I HEREBY CERTIFY that on May 17, 2024,
 I filed the foregoing pleading electronically
 through the CM/ECF system, which caused counsel
 of record to be served by electronic means.

 Frank V. Russo __________
 Trial Attorney




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